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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 21-161-1 (RBW)
DUSTIN BYRON THOMPSON,
Defendant.
_ )
ORDER

Upon consideration of the Government’s Motion for Leave to File Response to
Defendant’s Sentencing Memorandum, ECF No. 148, it is hereby

ORDERED that the Government’s Motion for Leave to File Response to Defendant's
Sentencing Memorandum, ECF No. 148, is GRANTED. It is further

ORDERED that the Government’s Response to Defendant’s Sentencing Memorandum,
ECF No. 148-2, is ACCEPTED AS FILED, and the Clerk of the Court shall file it as a separate
entry on the docket.

SO ORDERED this 17th day of November, 2022.

 

 

United States District Court Judge
